                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                         AT BECKLEY

 CENTER FOR BIOLOGICAL DIVERSITY,
 et al.,

                Plaintiffs,

   v.                                                    Civil Action No. 5:24-cv-00274
                                                                (Chief Judge Volk)
 UNITED STATES FOREST SERVICE, et al.

                Defendants,

   v.

 SOUTH FORK COAL COMPANY, LLC,

                Defendant-Intervenor.


                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

        Plaintiffs Center for Biological Diversity, Appalachian Voices, Greenbrier River

Watershed Association, Kanawha Forest Coalition, Sierra Club, and West Virginia Highlands

Conservancy move this Court to grant summary judgment in their favor. Fed. R. Civ. P. 56.

Defendants United States Forest Service (“Forest Service”), Randy Moore, Chief of the Forest

Service, and Jason Hattersley, Gauley District Forest Service Ranger, (collectively, Federal

Defendants or Forest Service) violated the Endangered Species Act (“ESA”), National

Environmental Policy Act (“NEPA”), and Administrative Procedure Act (“APA”) by failing to

comply with endangered species consultation requirements of the ESA and environmental review

requirements of NEPA before issuing Road Use Permit FS-7700-41 (“RUP”) to allow private

mining company South Fork Coal Company (“SF Coal”) to use Forest Service roads in the
Monongahela National Forest (“MNF”) to haul coal and coal mining equipment and supplies

within the Cherry River watershed.

       Plaintiffs respectfully request that the Court vacate the RUP due to the Forest Service’s

failure to complete consultation with FWS, in violation of section 7(a)(2) of the ESA, and failure

to conduct an environmental review, in violation of NEPA.


DATED: November 26, 2024                     Respectfully submitted,

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